Case: 2:19-cv-01054-EAS-CMV Doc #: 27 Filed: 05/20/19 Page: 1 of 1 PAGEID #: 419



                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


JOHN DOE,

              Plaintiff,
                                                    Civil Action 2:19-cv-1054
                                                    Chief Judge Edmund A. Sargus, Jr.
       v.                                           Magistrate Judge Chelsey M. Vascura


THE OHIO STATE UNIVERSITY, et al.,

              Defendants.


                                           ORDER

       This matter is before the Court for consideration of Plaintiff John Doe’s Unopposed

Motion to Unseal Transcript. (ECF No. 25.) For good cause shown, Plaintiff’s Motion is

GRANTED. (ECF No. 25.) The Clerk is DIRECTED to unseal the Transcript of Temporary

Restraining Order Proceedings held on March 25, 2019 (ECF No. 23).

       IT IS SO ORDERED.


                                                   /s/ Chelsey M. Vascura
                                                   CHELSEY M. VASCURA
                                                   UNITED STATES MAGISTRATE JUDGE
